Criminal Case Cover Sheet                                                                                            U.S. District Court
Place of Offense:
City             HagMfia                               Related Case Information:


Country/Parish                            .Superseding Indictment              Docket Number
                                                                                                     20-00092
                                                       Same Defendant                                New Defendant      x
                                                       Search Warrant Case Number
                                                       R 20/ R 40 from District of
Defendant Information:


         Juvenile: Yes              No     X        Matter to be sealed:             Yes       X      No


Defendant Name                Rickv James J r. S. Santos


Alias Name


Address                          XXX Abanbang Loop


                                 Yigo. GU 96929


Birthdate       Xx/xx/ 88    SS^ xxx-xx-           Sex     M    Race     PI    Nationality     Chamorro


U.S. Attorney Information:

AUSA          Rosetta L. San Nicolas


Interpreter:          x     No       Yes       List language and/or dialect:

Location Status:


Arrest Date

Ql Already in Federal Custody as of.                                    in                                  □ Already in State Custody
      On Pretrial Release


U.S.C. Citations
Total # of Counts:                                    Petty            Misdemeanor         X       Felony
                    Index Key/Code                     Description of Offense Charged                                Count(s)
                                               Attempted Possession of Methamphetamine
Set       1     21 USC841al                      With Intent to Distribute


Set       2

Set       3

Set       4
                                         (May be continued on reyers^

Date:                                  _ Signature of AUSA: _




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